                             Case 1:22-cv-00058 Document 1-10 Filed 01/10/22 Page 1 of 2
                                                                                                                28 USC 1608 Summons
                                                                                                                12/11




                                                       UNITED STATES DISTRICT COURT
                                                       FOR THE DISTRICT OF COLUMBIA

   Amaplat Mauritius Ltd.; and Amari Nickel Holdings
                    Zimbabwe Ltd.                                          )
                                   Plaintiff                               )
                                                                           )
                       v.                                                  )          Civil Action No.
 Zimbabwe Mining Development Corporation; The Chief Mining Commissioner,
       Ministry of Mines of Zimbabwe; and the Republic of Zimbabwe         )
                                                                           )
                                   Defendant                               )



                                                           SUMMONS IN A CIVIL ACTION

To:        (Defendant’s name and address)
                                                        Zimbabwe Mining Development Corporation,
                                                        90 Mutare Road, Msasa, Harare, Zimbabwe




           A lawsuit has been filed against you.

        Within 60 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
                                Steven K. Davidson
                                Steptoe & Johnson LLP
                                1330 Connecticut Avenue, NW
                                Washington, DC 20036




      If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                                                                               ANGELA D. CAESAR, CLERK OF COURT



Date:
                                                                                      Signature of Clerk or Deputy Clerk
                         Case 1:22-cv-00058 Document 1-10 Filed 01/10/22 Page 2 of 2

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                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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          u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                  ZKRLV
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                                                                              RQ(date)                          RU

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'DWH
                                                                                     Server’s signature



                                                                                   Printed name and title




                                                                                      Server’s address

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